             Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 1 of 11




                         UNITED STATES DISTRICT COURT                                          Style Definition: Normal
                         FOR THE DISTRICT OF COLUMBIA

__________________________________________
                                          )
MOHAMMAD IBRAHIM BAZZI                    )
    Rue Francois El Hajj                  )
    Park Palace Building                  )
    5th Floor, Bar Idriss                 )
    Beirut, Lebanon                       )
                                          )
                            Plaintiff,    ) Civil Action No. 1:19-cv-00484 (RDM)
                                          )                                                    Deleted: CIV. NO. 1:19-cv-00484
       v.                                 )
                                          )
ANDREA M. GACKI                           ) AMENDED COMPLAINT                                  Deleted: ➝➝
in her official capacity as               )                                                    Deleted: FOR
       Director of the United States      )                                                    Deleted: DECLARATORY AND
       Department of the Treasury         ) ECF                                                Deleted: INJUNCTIVE RELIEF
       Office of Foreign Assets Control   )
                                                                                               Formatted: Font: Bold
       1500 Pennsylvania Avenue, NW       )
       Freedman’s Bank Building           )
       Washington, D.C. 20220             )
                                          )
                            Defendant,    )
                                          )
       and                                )                                                    Deleted: ECF
                                          )
THE UNITED STATES DEPARTMENT              )
OF THE TREASURY, OFFICE OF FOREIGN )
ASSETS CONTROL                            )
       1500 Pennsylvania Avenue, NW       )
       Freedman’s Bank Building           )
       Washington, D.C. 20220             )
                                          )
                            Defendant.    )
__________________________________________)

       Plaintiff Mohammad Ibrahim Bazzi (hereinafter referred to as “Bazzi”) brings this

Amended Complaint for Declaratory and Injunctive Relief against Defendants the United States
               Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 2 of 11




Department of the Treasury’s Office of Foreign Assets Control (“OFAC”) and its Director, Andrea

M. Gacki, and in support of his amended complaint1 alleges the following:

                                    NATURE OF THE CASE                                                    Deleted: ¶


       1.      This lawsuit seeks the Court’s intervention to order Defendants to provide adequate        Deleted: enjoin
                                                                                                          Deleted: from
notice for their May 17, 2018 designation of Bazzi as a “Specially Designated Global Terrorist”           Formatted: Colorful List - Accent 11, Indent: Left: 0", First
                                                                                                          line: 0.5"
(“SDGT”) pursuant to Executive Order (“E.O.”) 13224. That designation resulted in Bazzi’s name            Deleted: unlawful
                                                                                                          Deleted: had the effect of adding
being added to OFAC’s Specially Designated Nationals and Blocked Persons List (“SDN List”).

       2.      Pursuant to a Joint Motion for Scheduling Order granted by this Court, on June 12,         Deleted: <#>In designating Bazzi, Defendants made
                                                                                                          allegations that seem to parallel historical conduct—i.e.,
                                                                                                          conduct that had terminated in or prior to 2013—and that has
2019 Defendants transmitted to Bazzi’s counsel the administrative record compiled in support of           no rational connection to the criteria of Executive Order
                                                                                                          (“E.O.”) 13224. OFAC’s reliance on these allegations was
their action to designate Bazzi. The disclosed administrative record was contained a heavily              not in accordance with law. ¶
                                                                                                          <#>The May 17, 2018 Press Release announcing Bazzi’s
                                                                                                          designation claims that he “was designated for assisting in,
redacted Evidentiary Memorandum, an unclassified summary of the evidence purportedly                      sponsoring, or providing


summarizing the redacted information contained in the Evidentiary Memorandum, and a copy of

a May 17, 2018 press release announcing Bazzi’s designation.

       3.      OFAC’s reasoning and evidence in the “Basis for Determination” section of the

Evidentiary Memorandum is almost entirely redacted. See A.R. 0020-0022. This includes certain

portions and corresponding exhibits of that section that are marked unclassified yet redacted. See

e.g. Id. at Note 8-9, 11, 15. There is no evidence disclosed in the redacted Evidentiary

Memorandum to support OFAC’s determination to designate Bazzi under Section 1(d)(i) of E.O.

13224—i.e. no statement of reasons Defendants may have had to believe that Bazzi “…assists in,

sponsors, or provides financial, material, or technological support for, or financial or other services

to or in support of HIZBALLAH.” A.R. 0016 and 0018.                                                       Deleted: Hizballah.” Exhibit A—Defendants’ Press Release
                                                                                                          of May 17, 2018. The May 23, 2018 Federal Register Notice
                                                                                                          of Bazzi’s



1
 A redlined comparison of the amended pleadings is attached as an exhibit pursuant to the Court’s
Standing Order in Civil Cases.


                                                  2
               Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 3 of 11




        4.      The unclassified summary is limited to conclusory statements alleging that Bazzi

has engaged in dealings with Hizballah and other SDGT designated persons, and otherwise

provides scant information in support of the designation criteria in Section 1(d)(i) of E.O. 13224.   Deleted: , however, states that the designation was imposed
                                                                                                      under section 1(c
        5.      OFAC has not taken reasonable steps to limit the unfairness to Bazzi arising from     Deleted: “for acting for or on behalf of HIZBALLAH, an
                                                                                                      entity determined

its heavy reliance on classified and otherwise privileged materials. Thus, Bazzi continues to be      Formatted: Colorful List - Accent 11, Indent: Left: 0", First
                                                                                                      line: 0.5"

deprived of adequate notice as to the basis of his designation. Bazzi therefore appeals to this       Deleted: subject to E.O. 13224.” See 83 Fed.
                                                                                                      Moved down [1]: Reg. 23,997-23,998
honorable Court to order Defendants to provide adequate notice as to the basis of his May 17, 2018    Deleted: . Accordingly, Defendants have not provided
                                                                                                      Deleted: of
designation, that is due him as a matter of law.
                                                                                                      Deleted: actual criteria of E.O. 13224 that they relied upon
                                                                                                      to designate Bazzi. ¶
                                  JURISDICTION AND VENUE                                              Bazzi is familiar with the transactions and dealings that
                                                                                                      OFAC has alleged in support of its
        6.      This action arises under the International Emergency Economic Powers Act, 50          Deleted: OFAC’s allegations, however, misconstrue and
                                                                                                      exaggerate those events. Further, many of those events
                                                                                                      occurred over ten years ago and the alleged dealings with
U.S.C. § 1701 et seq., and the Administrative Procedure Act (“APA”), 5 U.S.C. § 701 et seq. This      parties identified by OFAC as supporting their designation
                                                                                                      ceased over five years ago. ¶
Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. § 1331 because this      By designating Bazzi, Defendants have caused him
                                                                                                      irreparable harm by destroying his reputation and business
                                                                                                      interests, ruining his financial and personal well-being, and
action arises under the laws of the United States.                                                    jeopardizing his safety. Bazzi has been forced out of his
                                                                                                      legitimate business operations and his longstanding
                                                                                                      customers and suppliers have severed ties with him because
        7.      This Court may grant declaratory relief under the Declaratory Judgment Act, 28        of the designation. Bazzi’s personal and business accounts
                                                                                                      have been closed or frozen, directly impacting his ability to
U.S.C. § 2201 et seq., and Fed. R. Civ. P. Rule 57. This Court may grant injunctive relief in         financially support himself and his family. In addition, the
                                                                                                      allegations in Defendants’ Press Release regarding Hizballah
                                                                                                      have made Bazzi a target of Hizballah. ¶
accordance with Fed. R. Civ. P. Rule 65.                                                              OFAC’s policy is that the goal of U.S. sanctions is to bring
                                                                                                      about positive changes in behavior. Defendants’ reliance on
                                                                                                      evidence that is outdated, immaterial, non-probative, and
        8.      Venue is proper in the District of Columbia pursuant to 28 U.S.C. §§ 1391(b) and      historical to designate Bazzi under E.O. 13224, however,
                                                                                                      means that a change in behavior in this matter can never be
(e), as the Defendants reside in this District.                                                       demonstrated. ¶
                                                                                                      Deleted: overturn and hold unlawful
                                           THE PARTIES                                                Deleted: as Defendants’ findings, conclusions, and actions in
                                                                                                      this matter violate the APA.
        9.      Mohammad Ibrahim Bazzi is and was at all times relevant herein a citizen of           Formatted: Colorful List - Accent 11, Indent: Left: 0", First
                                                                                                      line: 0.5"

Lebanon. Bazzi currently resides at Rue Francois El Hajj, Park Palace Building, 5th Floor, Bar        Formatted: Colorful List - Accent 11, Indent: Left: 0", First
                                                                                                      line: 0.5"

Idriss, Beirut, Lebanon.




                                                   3
               Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 4 of 11




        10.     On May 17, 2018, Bazzi was designated as a SDGT under E.O. 13224 and his name

was added to the SDN List.

        11.     Defendant OFAC is a federal administrative agency of the United States

Department of the Treasury, located at 1500 Pennsylvania Ave., NW, Freedman’s Bank Building,

Washington D.C. 20220. The United States Department of the Treasury is responsible for

maintaining the financial and economic security of the United States.             The United States

Department of the Treasury is also responsible for overseeing various agencies, including OFAC.

OFAC is responsible for maintaining and administering the SDN List, including by placing                  Deleted: Bazzi is informed and believes thereon that


persons on and removing persons from the SDN List consistent with E.O. 13224 and the

implementing regulations located at 31 C.F.R. Parts 501 and 594, the “Reporting, Procedures and

Penalties Regulations” and the “Global Terrorism Sanctions Regulations,” respectively. OFAC

was responsible for designating Bazzi under E.O. 13224.

        12.     Defendant Andrea M. Gacki is the Director of OFAC. Ms. Gacki is sued in her

official capacity.

                                   FACTUAL ALLEGATIONS                                                    Formatted: Underline
                                                                                                          Formatted: Colorful List - Accent 11
        13.     On May 17, 2018, Defendants issued a press release alleging that Bazzi was                  Deleted: A.➝OFAC Designates Bazzi Under E.O.
                                                                                                            13224¶
designated as a SDGT under E.O. 13224 for “assisting in, sponsoring, or providing financial,              Formatted: Colorful List - Accent 11, Indent: Left: 0", First
                                                                                                          line: 0.5"
material, or technological support for, or financial or other services to or in support of, Hizballah.”

A.R. 0002-0010. That language reflects the designation criteria found in E.O. 13224, Section 1(d).          Deleted: Exhibit A—Defendants’ Press Release of May
                                                                                                            17, 2018.…
On the same day, Bazzi was added to the SDN List with the “[SDGT]” identifier. See A.R. 0014.

        14.     Approximately one week later, on May 23, 2018, OFAC published a Federal

Register Notice of Bazzi’s designation that provided a separate and distinct basis of designation

from that found in Defendants’ Press Release. The Federal Register Notice indicated that Bazzi




                                                  4
                Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 5 of 11




was designated under E.O. 13224, Section 1(c) for “acting for or on behalf of HIZBALLAH, an

entity determined to be subject to E.O. 13224.” See A.R. 0014-0015 (83 Fed. Reg. 23,997-23,998).       Moved (insertion) [1]


       15.      On April 19, 2019, after Bazzi filed his prior complaint in the instant matter, OFAC   Deleted: <#>OFAC has offered no explanation as to why the
                                                                                                       basis for Bazzi’s designation differs between the Press
                                                                                                       Release and the Federal Register Notice. As OFAC has not
published a new Federal Register Notice updating Bazzi’s entry on OFAC’s SDN List to clarify           clarified whether Bazzi was designated for acting for or on
                                                                                                       behalf of Hizballah, or whether he was designated for
that his designation was imposed under Section 1(d)(i) of E.O. 13224. See A.R. 0016 (84 Fed.           providing support and services to Hizballah, Defendants
                                                                                                       have not provided adequate notice as to the basis of Bazzi’s
                                                                                                       designation. ¶
Reg. 16,567).                                                                                          <#>Furthermore, the conclusory allegations against Bazzi in
                                                                                                       the Press Release and the Federal Register Notice fail to
                                                                                                       provide any factual predicate for determining that he is
       16.      OFAC’s administrative record relating to Bazzi’s designation was comprised in          engaged in ongoing conduct implicating any of the
                                                                                                       designation criteria of E.O. 13224, including that of section
part of an Evidentiary Memorandum and unclassified summary. The only unredacted portions of            1(c) or 1(d). ¶
                                                                                                       <#> Specifically, Defendants’ Press Release announcing

the Evidentiary Memorandum’s Basis for Determination section were Bazzi’s full name and a

restatement of the designation criteria of Section 1(d)(i) of E.O. 13224. As the remaining portions

of that section are redacted, the Evidentiary Memorandum does not provide any of the reasons on

which Defendants’ based their conclusion that Bazzi’s conduct has satisfied the designation

criteria of Section 1(d)(i) of E.O. 13224. See A.R. 0020-0022.

       17.      Furthermore, certain portions of the Evidentiary Memorandum that are marked

“(U”)—i.e. unclassified—are also redacted. See A.R. 0020-0022 at Note 8-9, 11, 15; See also A.R.

0027-0029 at Exhibits 2, 6, 9, 17, 21, and 40.

       18.      The unclassified summary portion of the administrative record consists of six brief

paragraphs, half of which—i.e. paragraphs 1, 5, and 6—parallel the conclusory allegations that

OFAC made in its May 17, 2018 press release. See A.R. 0001; Compare with A.R. 0002-0010

(Defendants’ Press Release of May 17, 2018).

       19.      The remaining paragraphs—i.e. paragraphs 2, 3, and 4—of that unclassified

summary are also limited to conclusory statements alleging that Bazzi has engaged in dealing with




                                                 5
               Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 6 of 11




Hizballah and/or other SDGT persons designated for their purported Hizballah affiliation, and
                                                                                                       Formatted: Colorful List - Accent 11, Indent: Left: 0", First
otherwise provide conclusory allegations regarding such dealings.                                      line: 0.5"
                                                                                                       Deleted: conclusory
       20.     Defendants’ press release and the unclassified summary both indicate, with              Deleted: he “
                                                                                                       Deleted: Exhibit
mirroring language, that Bazzi’s designation is premised on the allegation that Bazzi is a “key        Formatted: Font: Italic
                                                                                                       Deleted: —Defendants’ Press Release of May 17, 2018.
Hizballah financier who has provided Hizballah financial assistance for many years and has             The Press Release does not include
                                                                                                       Deleted: concluded
provided millions of dollars to Hizballah generated from his business activities.” See A.R. 0002-
                                                                                                       Deleted: Bazzi is a Hizballah financier
                                                                                                       Deleted:
0010; Compare with A.R. 0001. Neither the press release nor the unclassified summary, however,
                                                                                                       Deleted: Press Release further alleges that Bazzi “maintains
                                                                                                       ties” with two other SDGTs—
identifies any reasoning to establish how OFAC arrived at that conclusion or how he provided
                                                                                                       Deleted: Charara—and that he and a co-designee, Abdallah
                                                                                                       Safi-Al-Din, “worked with” the Central Bank of Iran in 2009
“millions of dollars” to Hizballah.                                                                    to …
                                                                                                       Deleted: expand banking access between Iran and Lebanon.
       21.     The unclassified summary and press release allege that Bazzi facilitated,               OFAC fails to …
                                                                                                       Deleted: information or reasoning
collaborated, engaged in, or was otherwise involved in business or financial relations with SDGTs      Deleted: how these
                                                                                                       Deleted: directly or indirectly connect Bazzi with Hizballah.
and/or Hizballah—e.g. Adham Tabaja and Ali Youssef Sharara—between 2010 to early 2017.                 See Exhibit A— Defendants’ Press Release of May 17, 2018.¶
                                                                                                       The purportedly sanctionable activities that Defendants
These records, however, do not provide any details as to the nature of those business or financial     relied upon to sanction Bazzi were in fact lawful dealings
                                                                                                       that occurred between 2005 and 2013. Bazzi was not
                                                                                                       engaged in any dealings with any of these individuals after
relations. Further, they do not indicate how those conclusory allegations support the premise that     2013, nor has he maintained ties to them since 2013. OFAC
                                                                                                       has also failed to allege or provide any reasoning as to why
                                                                                                       Bazzi would know any of these individuals had ties to or
he is a Hizballah financier, how he provided “millions of dollars” to Hizballah, or how it satisfies   were affiliated with
                                                                                                       Deleted: . ¶
the designation criteria in Section 1(d)(i) of E.O. 13224. See A.R. 0001-0010.                         The disclosures made in OFAC’s Press Release and the
                                                                                                       Federal Register Notice announcing Bazzi’s designation
       22.     For example, the third paragraph of the unclassified summary alleges that “[a]s of      contain the only information
                                                                                                       Formatted: Default Paragraph Font
early 2017, Bazzi and Ali Sharara utilized The Gambia to transfer funds to Hizballah.” A.R. 0001.      Deleted: to Bazzi as to OFAC’s bases, conclusions, and
                                                                                                       allegations for his designation. OFAC has not provided
                                                                                                       Bazzi with any portions of the administrative record
This conclusory statement provides no details of any kind whatsoever regarding the how the             underlying Bazzi’s designation, nor any other information
                                                                                                       explaining the reasons for the designation.¶
Gambia was used by Bazzi, what was Bazzi’s involvement in the transfer of funds, nor an                B.➝Defendants’ Reliance Upon Historical and
                                                                                                       Immaterial Conduct ¶
                                                                                                       Notwithstanding the fact that the conduct alleged in
explanation of how a country could be used to send funds.                                              Defendants’ Press Release has no rational connection to any
                                                                                                       of E.O. 13224’s
       23.     Further, the fourth paragraph of the unclassified summary alleges that “Sharara and     Deleted: and is highly exaggerated, the conduct that they
                                                                                                       relied upon to designate Bazzi occurred more than five years
                                                                                                       ago and has since ceased.
Bazzi operated several joint businesses in The Gambia, including Spectrum Investment Group
                                                                                                       Deleted: Bazzi believes that OFAC’s knowledge that these
                                                                                                       dealings were historical and have since ceased is reflected in
                                                                                                       any classified or privileged portions of the OFAC


                                                 6
               Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 7 of 11




S.A.L Holding and Euro Africa Group.” A.R. 0001. This conclusory statement, however, provides         Deleted: supporting Bazzi’s designation. ¶
                                                                                                      For example, the administrative record should demonstrate
no detail as to the nature or manner of those operations, when those operations occurred, nor how     that Bazzi informally introduced certain Lebanese bankers to
                                                                                                      bankers at the Central Bank of Iran sometime between 2006
                                                                                                      and 2007. This was Bazzi’s sole interaction with the Central
any purported joint operations relate to the designation criteria of Section 1(d)(i) of E.O. 13224.   Bank of Iran and occurred more than a decade ago. OFAC,
                                                                                                      however, has misconstrued those events to claim that Bazzi
                                                                                                      worked with the Central Bank of Iran to expand banking
       24.     Further, the disclosed record fails to establish how the allegations found in the      access between Iran and Lebanon between 2009-2010. ¶
                                                                                                      Further, it is believed that OFAC’s administrative record
Additional Information section of the Evidentiary Memorandum relate to or support Bazzi’s             shows that Bazzi’s dealings with Safi-Al-Din, Charara, and
                                                                                                      Tabaja all took place and ended well before any of those
                                                                                                      persons were designated by OFAC—Abdallah Safi-Al-Din
designation. The Additional Information section alleges that Bazzi has relations to persons           was designated on May 17, 2018; Ali Charara was
                                                                                                      designated on January 7, 2016; and Adham Tabaja was
                                                                                                      designated on June 10, 2015. ¶
designated under separate and distinct sanctions programs administered by OFAC—i.e. Yahya             Defendants also cite previous ties between Bazzi and Yahya
                                                                                                      Jammeh, the former President of The Gambia, who was
Jammeh designated pursuant to E.O. 13818, or the Joumaa Drug Trafficking and Money                    designated under E.O. 13818 for alleged human rights
                                                                                                      abuses and corruption on December 21, 2017. Exhibit A—
                                                                                                      Defendants’ Press Release of May 17, 2018.¶
Laundering Organization and Ali Kharroubi designated pursuant to the Foreign Narcotics Kingpin        In addition, Defendants broadly allege that Bazzi has
                                                                                                      “business ties” to the Ayman Joumaa Drug Trafficking and
                                                                                                      Money Laundering Organization which was designated by
Designation Act. It does not, however, provide any reasoning to establish why or how OFAC             OFAC on January 26, 2011 pursuant to the Foreign
                                                                                                      Narcotics Kingpin Designation Act, 21 U.S.C. § 1901 et al. ¶
concluded that Bazzi is a Hizballah financier, how he provided “millions of dollars” to Hizballah,    These references are totally irrelevant, immaterial, and not
                                                                                                      otherwise probative to any designation criteria of E.O.
                                                                                                      13224, and Defendants’ reliance on them to support Bazzi’s
or how it is connected to the designation criteria in Section 1(d)(i) of E.O. 13224. See A.R. 0022-   designation is unlawful. ¶
                                                                                                      C.➝Punishment of Bazzi as a Proxy for the Government
                                                                                                      of Iran and Animus Against Bazzi¶
0026 (Additional Information section); See also A.R. 0001 and 0005. The information in the            ¶
                                                                                                      Furthermore, Defendants’ Press Release demonstrates that
Additional Information section was only included for purposes of denigrating Bazzi in OFAC’s          they designated Bazzi to punish him as a proxy for the
                                                                                                      Government of Iran. The Press Release states that Bazzi’s
                                                                                                      designation was “the third action in the past week in which
press release and plays no supporting role as to the basis of his designation.                        OFAC has designated terrorists with a connection to the
                                                                                                      Central Bank of Iran,” and “follow[s] President Trump’s
                                                                                                      decision…to begin reimposing U.S. nuclear-related sanctions
       25.     The disclosed administrative record constitutes inadequate notice and deprives         on the Iranian regime….” Exhibit A—Defendants’ Press
                                                                                                      Release of May 17, 2018. Those statements are irrelevant,
Bazzi a meaningful opportunity to respond, rebut, or otherwise correct the allegations relied upon    immaterial, or otherwise not rationally connected to any of
                                                                                                      the designation criteria contained in E.O. 13224.¶
                                                                                                      Defendants have also leveled ad hominem attacks against
for his designation through OFAC’s administrative reconsideration process that OFAC. 31 C.F.R.        Bazzi by stating that Bazzi engaged in “savaged and ... [1]
                                                                                                      Formatted: Colorful List - Accent 11, Indent: Left: 0", First
§ 501.807.                                                                                            line: 0.5", Tab stops: Not at 1.88"
                                                                                                      Deleted: undertaken to challenge his designation.
                                                                                                      Deleted: D.➝Devastating Impact of Defendants’
                                                                                                      Unlawful Designation¶
                                                                                                      As a result of his designation, all of Bazzi’s property and
                                     CAUSES OF ACTION                                                 interests in property located within U.S. jurisdiction are
                                                                                                      blocked, and U.S. persons are generally prohibited from
                                            COUNT I                                                   engaging in any transactions or dealings with him. In
                                                                                                      addition, foreign financial institutions run the risk of U.S.
                                                                                                      sanctions designations for engaging in any significant
                                                                                                      transaction(s) with Bazzi, and foreign persons who transact
                                                                                                      with Bazzi are exposed to sanctions risk for those dealings.    ¶
                                                                                                                                                                 ... [2]
                                                                                                      Formatted: Left


                                                 7
               Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 8 of 11




       26.     Bazzi re-alleges and incorporates by reference as if fully set forth herein the        Deleted: DEFENDANTS’ RELIANCE ON HISTORICAL
                                                                                                      CONDUCT TO ¶
                                                                                                      DESIGNATE BAZZI UNDER E.O. 13224 IS
allegations in all preceding paragraphs.                                                              ARBITRARY, CAPRICIOUS, AN ABUSE OF
                                                                                                      DISCRETION, AND OTHERWISE NOT IN
       27.     In the post-deprivation context, the Fifth Amendment’s Due Process Clause              ACCORDANCE WITH LAW¶
                                                                                                      ¶
                                                                                                      Bazzi re-alleges and incorporates by reference as if fully set
requires notice reasonably calculated under all the circumstances to apprise aggrieved parties of     forth herein the allegations in all preceding paragraphs. ¶
                                                                                                      Defendants’ designation of Bazzi pursuant to E.O. 13224
                                                                                                      constitutes final agency action that is arbitrary, capricious, an
the allegations against them so that they have the opportunity to make a meaningful response.         abuse of discretion, or otherwise not in accordance with law.
                                                                                                      This is because Defendants’ conclusion that Bazzi meets the
       28.     Defendants are required to provide Bazzi with an understanding of the allegations      criteria for designation is based on historical conduct that
                                                                                                      does not satisfy the designation criteria of E.O. 13224—
                                                                                                      regardless of which section OFAC relied upon—as the
supporting their designation action under Section 1(d)(i) of E.O. 13224, so that he may have the      criteria requires that any sanctionable conduct be ongoing in
                                                                                                      nature.¶
                                                                                                      Defendants have knowledge that the alleged conduct by
opportunity to make a meaningful response.                                                            Bazzi that could in any way implicate E.O. 13224 ceased
                                                                                                      five or more years ago. ¶
       29.     Defendants disclosed administrative record fails to provide Bazzi with an              In designating Bazzi under E.O. 13224, Defendants
                                                                                                      improperly and solely relied on historical information. Thus,
                                                                                                      the designation was arbitrary and capricious, made in abuse
understanding of the allegations supporting their designation action.                                 of OFAC’s discretion, and was otherwise not in accordance
                                                                                                      with law. 5 U.S.C. § 706(2)(A). Therefore, Bazzi’s
                                                                                                      designation was made in violation of the APA and should be
       30.     Defendants have violated Bazzi’s right to due process under the Fifth Amendment        set aside by this Court. ¶
                                                                                                      COUNT II¶
to the United States Constitution.                                                                    ¶
                                                                                                      DEFENDANTS’ USE OF IRRELEVANT, IMMATERIAL,
                                                                                                      OR UNDULY REPETITIOUS EVIDENCE TO
                                            COUNT II                                                  DESIGNATE BAZZI UNDER E.O. 13224 VIOLATES
                                                                                                      THE APA¶
                                                                                                      ¶                                                          ... [3]
  DEFENDANTS’ FAILURE TO PROVIDE BAZZI SUFFICIENT NOTICE OF THE BASIS
                                                                                                      Formatted: Indent: Left: 0", First line: 0.5"
        FOR HIS DESIGNATION UNDER E.O. 13224 VIOLATES THE APA
                                                                                                      Deleted:
                                                                                                      Deleted: <#>Defendants’ designation of Bazzi under E.O.
       31.     Bazzi re-alleges and incorporates by reference as if fully set forth herein the        13224 constitutes final agency action that is arbitrary,
                                                                                                      capricious, an abuse of discretion, or otherwise not in ... [4]
allegations in all preceding paragraphs.                                                              Formatted: Indent: Left: 0", First line: 0.5"
                                                                                                      Deleted: in all preceding paragraphs. ¶
       32.     Agency action, findings, and conclusions found to be arbitrary, capricious, an abuse   Defendants’
                                                                                                      Deleted: of Bazzi under E.O. 13224 was a final agency
of discretion, or otherwise not in accordance with law, or without observance of procedure required   Deleted: that is arbitrary, capricious, an abuse of discretion,
                                                                                                      or otherwise not in accordance with law
by law, shall be held unlawful by a reviewing court and set aside. 5 U.S.C. § 706(2)(A) and (D).      Deleted: <#>Defendants’ actions therefore constitute a
                                                                                                      violation of the APA and should be set aside by this Court. ¶
       33.     Post-deprivation due process requires notice reasonably calculated under all the       Deleted: VI
                                                                                                      Formatted: Left
circumstances to apprise aggrieved parties of the allegations against them so that they have the      Formatted: Indent: Left: 0", First line: 0.5"
                                                                                                      Deleted: sufficient
opportunity to make a meaningful response.
                                                                                                      Deleted: be given to an
                                                                                                      Deleted: party. Accordingly,




                                                 8
              Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 9 of 11




       34.    Defendants are required to provide Bazzi with an understanding of the allegations       Deleted: were
                                                                                                      Deleted: sufficient notice of the allegations against him in
supporting their designation action under Section 1(d)(i) of E.O. 13224, so that he may have the      support
                                                                                                      Deleted: his designation
opportunity to make a meaningful response.                                                            Formatted: Indent: Left: 0", First line: 0.5"
                                                                                                      Deleted: has
       35.    The disclosed administrative record fails to provide Bazzi with an understanding of     Deleted: meaningfully respond.
                                                                                                      Deleted: Defendants have not provided sufficient notice as
the allegations supporting Defendants’ designation action.                                            to the specific criteria of E.O. 13224 that they relied upon for
                                                                                                      Bazzi’s
       36.    Defendant’s failure to provide Bazzi with adequate notice of the basis underlying       Deleted: . Bazzi remains unaware of exactly which
                                                                                                      designation criteria in E.O. 13224 was relied upon to
his designation under E.O. 13224 is in violation of the APA.                                          designate him, as Defendants relied upon two separate and
                                                                                                      distinct bases for designation in their Press Release and the
                                                                                                      Federal Register Notice of the designation action.
                                     RELIEF REQUESTED                                                 Deleted: and fair

WHEREFORE, Bazzi respectfully requests that this Court:

       A.     Review all material that OFAC relied upon—including classified, classified by           Formatted: Colorful List - Accent 11
                                                                                                           Deleted: and law enforcement
              compilation, and otherwise privileged information—in designating Bazzi;

       B.     Declare Defendants’ reliance on irrelevant, immaterial, or unduly repetitious                Deleted: non-reliable, non-probative,
                                                                                                           Deleted: non-substantial
              evidence, within the redacted portions of the administrative record, as unlawful             Deleted: to designate Bazzi

              under the APA, and jointly or severally set aside that evidence;

       C.     Order Defendants to adequately explain why all redacted portions of the

              administrative record—including classified, classified by compilation, and

              otherwise privileged information—lawfully fall within the scope of those
                                                                                                      Formatted: Colorful List - Accent 11
              categories;
                                                                                                           Deleted: <#>Declare unlawful and set aside any agency
                                                                                                           action, findings, and conclusions found to be arbitrary,
       D.     Declare that Defendants’ failed to provide sufficient notice under the U.S.                  capricious, an abuse of discretion, or otherwise not in
                                                                                                           accordance with law, and jointly or severally set aside
              Constitution, and order them to do so;                                                       those actions, findings, and/or conclusions;¶
                                                                                                           <#>Declare unlawful and set aside any agency action,
                                                                                                           findings, and conclusions found to be in excess of
       E.     Declare that Defendants’ failed to provide sufficient notice under the APA, and              statutory jurisdiction, authority, or limitations, or short
                                                                                                           of statutory right, and jointly or severally set aside those
                                                                                                           actions, findings, and/or conclusions; ¶
              order them to do so;                                                                         <#>Declare Bazzi’s designation unlawful under the
                                                                                                           APA;¶
       F.     Grant an award to Bazzi of his costs and attorneys’ fees incurred in this action; and        <#>Declare and/or order Defendants to rescind Bazzi’s
                                                                                                           designation under E.O. 13224 and remove his name
                                                                                                           from OFAC’s SDN List;¶
                                                                                                           <#>Vacate the designation of Bazzi as a SDGT;¶


                                                9
            Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 10 of 11




      G.     Award Bazzi any other further relief as the Court may deem just and proper.



Dated: July 12, 2019                                                                       Deleted: February 26


                                                         Respectfully submitted,           Deleted: ¶


                                                         /s/ Erich C. Ferrari, Esq.
                                                         Erich C. Ferrari, Esq.
                                                         Ferrari & Associates, P.C.
                                                         1455 Pennsylvania Ave., NW
                                                         Suite 400
                                                         Washington, D.C. 20004
                                                         Telephone: (202) 280-6370
                                                         Fax: (877) 448-4885
                                                         Email: ferrari@falawpc.com
                                                         D.C. Bar No. 978253

                                                         Attorney for Plaintiff
                                                         Mohammad Ibrahim Bazzi




                                            10
         Case 1:19-cv-00484-RDM Document 9-1 Filed 07/12/19 Page 11 of 11



Page 7: [1] Deleted                   Plaintiff                   7/12/19 1:49:00 PM



         1.


Page 7: [2] Deleted                   Plaintiff                   7/12/19 1:49:00 PM

Page 8: [3] Deleted                   Plaintiff                   7/12/19 1:49:00 PM

Page 8: [4] Deleted                   Plaintiff                   7/12/19 1:49:00 PM



         2.
